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              ,KHUHE\FHUWLI\WKDWRQ 1RYHPEHU              DFRS\RI
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ILUVWFODVVPDLOSRVWDJHSUHSDLGWR &RUYLDV 0DQDJHPHQW$UP\ //&
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                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

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                            Plaintiff(s)
                                 Y                                         &LYLO$FWLRQ1R FY
          &RUYLDV 0DQDJHPHQW$UP\ //& HW DO



                           Defendant(s)


                                                   6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) &RUYLDV 0DQDJHPHQW$UP\ //&
                                           FR 7KH &RUSRUDWLRQ 7UXVW &RPSDQ\
                                           &RUSRUDWLRQ 7UXVW &HQWHU
                                            2UDQJH 6WUHHW
                                           :LOPLQJWRQ '( 
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DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ILUVWFODVVPDLOSRVWDJHSUHSDLGWR 0HDGH &RPPXQLWLHV //&
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                            Plaintiff(s)
                                 Y                                         &LYLO$FWLRQ1R FY
          &RUYLDV 0DQDJHPHQW$UP\ //& HW DO



                           Defendant(s)


                                                   6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) 0HDGH &RPPXQLWLHV //&
                                           FR 7KH &RUSRUDWLRQ 7UXVW &RPSDQ\
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